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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 02-160V
                                       Filed: May 5, 2016

* * * * * * * * * * * *                    *             UNPUBLISHED
BETH ROSENBERG, mother and next            *
friend of J.R., a minor,                   *
                                           *
                     Petitioner,           *             Chief Special Master Dorsey
                                           *
v.                                         *             Attorneys’ Fees and Costs
                                           *
SECRETARY OF HEALTH                        *
AND HUMAN SERVICES,                        *
                                           *
                     Respondent.           *
                                           *
* * * * * * * * * * * * *
Robert J. Krakow, Law Office of Robert J. Krakow, P.C., New York, NY, for petitioner.
Ryan D. Pyles, U.S. Department of Justice, Washington, D.C., for respondent.

                      DECISION ON ATTORNEYS’ FEES AND COSTS1

        On March 1, 2002, Beth Rosenberg (“petitioner”) filed a petition on behalf of her minor
child, J.R., pursuant to the National Vaccine Injury Compensation Program.2 42 U.S.C. §§
300aa-1 to 34 (2012). Petitioner alleged that, as a result of receiving two diphtheria-tetanus-
acellular pertussis (DTaP) vaccines on March 8, 1999, and March 20, 2000, J.R. developed or
experience a significant aggravation of hypersensitivity reactions. Amended Petition at ¶ 22-24.
Further, petitioner alleged that J.R. experienced residual effects of the injury for more than six
months. Id. at ¶ 25. On October 2, 2015, the parties filed a stipulation in which they stated that
a decision should be entered awarding compensation. The undersigned issued a Decision
pursuant to the parties’ stipulation on October 5, 2015.
1
 Because this decision contains a reasoned explanation for the undersigned’s action in this case, the
undersigned intends to post this ruling on the website of the United States Court of Federal Claims, in
accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services). As provided by Vaccine Rule 18(b), each party has 14
days within which to request redaction “of any information furnished by that party: (1) that is a trade
secret or commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b).

2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood
Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§
300aa-1 to -34 (2012) (Vaccine Act or the Act). All citations in this decision to individual sections of the
Vaccine Act are to 42 U.S.C.A. § 300aa.
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        On March 21, 2016, petitioner filed an application for attorneys’ fees and costs, stating
that petitioner incurred $44,893.60 in attorneys’ fees, and $8,764.65 in attorneys’ costs, for total
fees and costs of $53,658.25. See Pet’r’s App. at ¶ 1. In accordance with General Order #9,
petitioner’s counsel stated that petitioner did not incur any costs in this matter. Id. at ¶ 3.
Petitioner’s application goes on to state that “[b]ased on discussions with respondent, petitioner .
. . amends the Application for Attorneys’ Fees and Costs to request reimbursement in the total
amount of $50,000.00. Respondent has no objection.” Id. at ¶ 2. Accordingly, petitioner
requests that a decision awarding final attorneys’ fees and costs in the amount of $50,000.00 be
issued. Id. at ¶ 4.

        Under the Vaccine Act, the special master shall award reasonable attorneys’ fees and
costs for any petition that results in an award of compensation. 42 U.S.C. § 300aa-15(e)(1).
Petitioner in this case was awarded compensation pursuant to a stipulation, and therefore is
entitled to an award of reasonable attorneys’ fees and costs. Upon review of counsel’s billing
records, the undersigned finds the hourly rate3 and number of hours billed reasonable.
Petitioner’s costs, which are primarily composed of costs related to petitioner’s expert reports,
are also reasonable. Accordingly, based on the reasonableness of petitioner’s request and the
lack of opposition from respondent, the undersigned GRANTS petitioner’s motion for attorneys’
fees and costs.

        The undersigned awards the total of $50,000.00 as follows:

            (1) A lump sum of $50,000.00 in the form of a check payable jointly to petitioner
                and petitioner’s counsel of record, Robert J. Krakow, for attorneys’ fees and
                costs.



3
  Petitioner requests compensation for Mr. Krakow in the amount of $365.00 per hour for time billed in
2011; $375.00 per hour for time billed in 2012; $385.00 per hour for time billed in 2013; $396.00 per
hour for time billed in 2014; $413.00 per hour for time billed in 2015; and $425.00 per hour for time
billed in 2016. Pet’r’s App. at 1-13. These rates are consistent with the rates the undersigned recently
found reasonable for Mr. Krakow (in a decision that is not yet public) in light of other decisions awarding
similar hourly rates to other similarly situated attorneys.

Petitioner also requests compensation for a total of 7.2 hours of paralegal work in the amount of $140.00
per hour for time billed in 2013 and 2014, and $145 per hour for time billed in 2015. Id. at 2-5, 8-7, 13.
The undersigned has previously awarded paralegal rates of $125 per hour. See Parker v. Sec’y of Health
& Human Servs., 02-1553V, 2015 WL 455011, at *1 (Fed. Cl. Spec. Mstr. June 3, 2015). The paralegal
time in this case would be compensated at $125 per hour, however, counsel has already reduced his fee
request by $3,658.25. Because the reduction of paralegal rates would total less than the amount already
reduced, no further reduction is required.

                                                     2
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        The clerk of the court shall enter judgment in accordance herewith.4

IT IS SO ORDERED.

                                                          s/Nora Beth Dorsey
                                                          Nora Beth Dorsey
                                                          Chief Special Master




4
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                     3
